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 7                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WASHINGTON
 8

 9    UNITED STATES OF AMERICA,                    No. 1:18-CR-2037-SAB

10                                                 UNITED STATES’ MOTION FOR
                                    Plaintiff,
11                                                 ENTRY OF A FINAL ORDER OF
                      vs.                          FORFEITURE
12

13    LORENZO ELIAS MENDEZ,                        Hearing Date and Time:
                                                   March 30, 2023 at 6:30 p.m.
14                                                 Without Oral Argument
                                    Defendant.
15

16
           The United States of America, by its undersigned counsel, respectfully submits
17

18 its Motion for Entry of a Final Order of Forfeiture in the above-entitled case for the

19
     reasons set forth below. A proposed order is submitted with this motion.
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           On January 6, 2020, the Court entered a Preliminary Order of Forfeiture (ECF
21

22 No. 258) forfeiting the following listed assets to the United States:

23
           A.    a black Moto cellphone with black case;
24
           B.    seven miscellaneous hidden cameras, transmitters, and accessories, more
25

26               specifically described as follows:
27
                 i.         two batteries (ECF No. 211-2, Exhibit list items 42.3 and 40.1);
28
     MOTION FOR ENTRY OF A FINAL ORDER OF FORFEITURE 1
     Case 1:18-cr-02037-SAB     ECF No. 345    filed 02/28/23   PageID.2507 Page 2 of 4




                 ii.    micro SD USB (ECF No. 211-2, Exhibit list item 42.4);
 1

 2               iii.   hidden camera, MPD evidence number 216922 (1) (ECF No.
 3
                        211-2, Exhibit list item 9);
 4
                 iv.    hidden camera, MPD evidence number 216922 (1) (ECF No.
 5

 6                      211-2, Exhibit list item 10);
 7
                 v.     hidden black camera, MPD evidence number 216915 (ECF No.
 8

 9
                        211-2, Exhibit list item 4);

10               vi.    hidden camera without lens, MPD evidence number 216913(1)
11
                        (ECF No. 211-2, Exhibit list item 7); and
12

13
                 vii.   wall charger hidden camera, MPD evidence 216917 (ECF No.

14                      211-2, Exhibit list item 3);
15
           C.    a Plug 2 View hidden camera; and
16

17         D.    a stuffed animal (dog), teddy bear/dog eye, and package of wiggle eyes.

18         The United States published notice of forfeiture online at www.forfeiture.gov
19
     beginning January 8, 2020 and ending February 6, 2020. ECF No. 334, 334-1 and
20

21 334-2. Based upon the July 23, 2021, publication start date, the latest claim deadline

22 was March 8, 2020.

23
           To date, no claims or petitions have been received or filed for the asset(s)
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25 forfeited in the Preliminary Order of Forfeiture entered herein.

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     MOTION FOR ENTRY OF A FINAL ORDER OF FORFEITURE 2
     Case 1:18-cr-02037-SAB     ECF No. 345    filed 02/28/23   PageID.2508 Page 3 of 4




           The Defendant was sentenced on January 7, 2020. The assets forfeited in the
 1

 2 Preliminary Order of Forfeiture were included in the judgment filed on January 9,

 3
     2020. ECF No. 266 at 8.
 4
           Based on the foregoing, the United States respectfully requests that the Court
 5

 6 enter the attached proposed order declaring the Final Order of Forfeiture.

 7
           DATED: February 28, 2023
 8
                                           Vanessa R. Waldref
 9                                         United States Attorney
10
                                           s/ Alison L. Gregoire
11                                         Alison L. Gregoire
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                                           Assistant United States Attorney

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     MOTION FOR ENTRY OF A FINAL ORDER OF FORFEITURE 3
      Case 1:18-cr-02037-SAB     ECF No. 345   filed 02/28/23   PageID.2509 Page 4 of 4




                                  CERTIFICATE OF SERVICE
 1

 2         I hereby certify that on February 28, 2023, I electronically filed the foregoing
 3
     with the Clerk of the Court using the CM/ECF System, which will send notification of
 4
     such filing to the counsel of record.
 5

 6
                                      s/ Alison L. Gregoire
 7
                                      Alison L. Gregoire
 8                                    Assistant United States Attorney
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     MOTION FOR ENTRY OF A FINAL ORDER OF FORFEITURE 4
